Case 5:23-cv-00544-R .Document1-3 Filed 06/20/23 Page 1of1

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14-5A pt

INFORMAL RESOLUTION

[ To be:conipleted by inmate/resident:.

Date: | — | 207)

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Last Name First Name Middle Initial
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Attach additional pages, if necessary.

[BOR STARF-USE ONLY: |

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Date received from inmate/resident:

Name of staff member completing informal resolution process:

Date response due to inmate/resident:

Date and time initial meeting held with the inmate/resident:

Additional information received from initial meeting:

Names of staff members involved with the inmate/resident’s issue:

Distribution:
Original: Facility
Copy: Inmate/Resident
01/09

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